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—$—_<___._,

Fill in this information to identify your case:

 

DEC 0 2 2021

United States Bankruptcy Court
Albuquerque, New Mexico

Joe! Alan Gaffney

First Name

Debtor 1

 

Midde Name Lest Name

Debtor 2
(Spouse, If filing) Fint Name

 

Middle Name LastName

United States Bankruptcy Court for the New Mexico

QO) Check if this is an
amended filing

Case number
{if known)

 

 

Official Form 103B
Application to Have the Chapter 7 Filing Fee Waived

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known).

 

12/15

 

Tell the Court About Your Family and Your Family's income

 

1. What is the size of your family? Check aif that apply:
Your family includes you, your ir}
spouse, and any dependents listed You
on Schedule J: Your Expenses | Your spouse
(Official Form 106). 0 2
Ql Yourdependens 4 fo
How many dependents? Total number of people

Fill in your family’s average

monthly income, That person's average
monthly net income

Include your spouse's income if (take-home pay}

your spouse is living with you, even = Add your income and your spouse's income. Include the

if your spouse is not filing. value (if known} of any non-cash governmental assistance yp, $ 1,265.33

Bo not include your spouse's
income if you are separated and

that you receive, such as food stamps (benefits under the
Supplemental Nutrition Assistance Program) or housing
subsidies.

 

your Spouse is not filing with you. If you have already filled out Schedule {: Your Income, see 4 YOUr spouse... + § 0.00
tine 10 of that schedule.
Subtotal............ $ 1,265.33
Subtract any non-cash governmental assistance that you — -0.00
included above. $
Your family’s average monthly net income Tolal... eee $ 1,265.33

 

 

3. Do you receive non-cash fiveeicicceiciaice

governmental assistance?

E) No
©) Yes. Describe...........

 

 

 

4, Do you expect your family's
average monthly net income to
increase or decrease by more than
10% during the next 6 months?

LJ No
G) Yes. Explain. ............

 

| just started a commission-based insurance sales position
that | expect will pay me more than my current $0/month
income, but | do not anticipate that position providing sufficient

 

 

| have been living off my savings since my unemployment benefits ran out in
September, and | have no way of predicting how much ! may be able to make
in my new fob, for which | am still undergoing unpaid training

& Tell the court why you are unable to pay the filing fee in
instaliments within 120 days. If you have some additional
circumstances that cause you to not be able to pay your filing
fee in Instatiments, explain them.

 

 

 

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Debtor 1 Joel Alan Gaffney Case number (i tnown

 

First Name Midda Name {ast Name

Teli the Court About Your Monthly Expenses

 

6. Estimate your average monthly expenses,

Include amounts paid by any government assistance that you $ 866.02
reported on line 2.

lf you have already filled out Schedule J, Your Expenses, copy
line 22 from that form.

 

7. Dothese expenses coveranyone =] jig
who is not included in your family .
as reported in fine 1? El Yes. kientify who........

 

 

 

8. Does anyone other than you Gn
regularly pay any of these Aue
expenses? (J Yes. How much do you regularly receive as contributions? $ monthly

(f you have already filled out
Schedule !: Your income, copy the
total from line 11.

9. Do you expect your average f) No

 

monthly expenses fo increase or
decrease by more than 10% during O Yes. Explains ersoeeee
the next 6 months?

 

 

 

Tell the Court About Your Property

If you have already filled out Schedule A/B: Property (Official Form 106A/B) attach copies to this application and go to Part 4.

10. How much cash do you have?

Examples: Money you have in ;
your wallet, in your home, and on Cash: 5.
hand when you file this application

41. Bank accounts and other deposits

 

 

 

 

 

 

Institution name: Amount:
of money? SS ——
Examples: Checking, savings, Checking account: 3
money market, or other financial
accounts, certificates of deposit: Savings account: 5.
shares in banks, credit unions,
brokerage houses, and other Other financial accounts: $
similar Institutions. If you have ,
more than one account with the : . $
same institution, list each, Do nat Other financial accounts:
include 404(k) and IRA accounts.

412. Your home? (ifyou own it outright or
are purchasing it) Number Streal Curtent vatue $
Examples: House, condominium, Amount you awe
manufactured home, or mobile home City State ZIP Code on mortgage and 5
liens
13. Other real estate? Curent vatue $

 

Number Street
Amount you owe
onmongageand = $.

 

City Stale ZIP Code Kens
14. The vehicles you own? Make:
Examples: Cars, vans, trucks, Model: Current value 5.
sports utility vehicles, motorcycles, Year. Amount you owe
tractors, boats —————— on liens 5
Miteage
Make:
Medel: Current value $
Yeat Amount you owe
Mileage on tiens $

Official Fameyt§8821-11322-7 Doc 6 Fhenticatioroip Have the Ghpptes@ Filinaragawieg:46:52 Page 2 of dage2
Debtor 1 Joe! Alan Gaffney

 

First Narme Middie Name

16. Other assets?

Do not inctude household items
and clothing.

16. Money or property due you?
Examples. Tax refunds, past due

last Name

Describe the other assets:

Case Number (# known)

 

Current value 5.

 

 

 

onliens

 

Who owes you the money or property?

Amount you owe

How much is owed? Do you believe you will likely receive

 

 

payment in the next 180 days?

 

 

 

 

 

schedules?

case?

case?

 

 

 

 

or lump sum alimony, spousal $ CG No
support, child support, $ :
maintenance, divorce or property Yes. Explain:
settlements, Social Security
benefits, workers' compensation,
personal injury recovery
Answer These Additional Questions
17. Have you paid anyone for GI No
services for this case, including ; . d
filting out this application, the ( Yes. Whom did you pay? Check aif that apply: How much did you pay?
bankruptcy filing package, or the O An attommey
$.
Oa bankruptcy petition preparer, paralegal, or typing service
QO) Someone else
18. Have you promised to pay or do G) No
you expect to pay someone for .
pertices inet pair barney () Yes. Whom do you expect to pay? Check aif that apply: How much do you
C] Anattomey expect to pay?
Oa bankruptcy petition preparer, paralegal. or typing service
5
OC) Someone else
1@. Has anyone paid someone on fe) No
Veep eae ees reliee Cl Yes. Who was paid on your behalf? Who paid? How much did
Check all that apply: Check all that apply: someone else pay?
CQ) An attorney QO) Parent 5
OC) A bankruptcy petition preparer, C) Brother or sister
paralegal, or typing service Q) Friend
CO) Someone else C) Pastor or clergy
C) Someone else
20. Have you filed far bankruptcy E] No
eevee OO) Yes. pistrict When Case number
MM DDI YYYY
District When Case number
MM DD YYYY
Dretrict When Case number
MM/ DDI YYYY

By signing here under penalty of perjury, | declare that 1 cannot afford to pay the filing fee either in full or in installments. | also dectare

«htt May J "Vy i

Signature of Debtor 1

Date
WM? DOorYYYY~

Official Fem 29395 1-11322-7 Doc 6

this application is true and correct.

x
Signature of Debtor 2

Date
MM / OD /YYYY

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